                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                   CHARLOTTESVILLE DIVISION


   DAMIAN STINNIE, MELISSA
   ADAMS, and ADRAINNE JOHNSON,
   individually, and on behalf of all others
   similarly situated; WILLIEST BANDY,                  Civ. No: 3:16-cv-00044
   and BRIANNA MORGAN, individually,
   and on behalf of all others similarly
   situated,

               Plaintiffs,

                       v.

   RICHARD D. HOLCOMB, in his official
   capacity as the Commissioner of the
   VIRGINIA DEPARTMENT OF MOTOR
   VEHICLES,

               Defendant.


                                    NOTICE OF APPEARANCE

           Please enter the appearance of Travis C. Gunn (VSB No. 86063) as counsel for Plaintiffs

  Damian Stinnie, Melissa Adams, Adrainne Johnson, Williest Bandy and Brianna Morgan, in the

  above-captioned case. The undersigned requests that all parties and interested persons serve

  copies of any and all papers, notices, and correspondence on the undersigned at the address listed

  below.

           Respectfully submitted, on this 8th day of January, 2019.

                                                By Counsel

                                                  /s/ Travis C. Gunn
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                                     CERTIFICATE OF SERVICE
         I hereby certify that on January 8, 2019, I electronically filed the foregoing instrument

  with the Clerk of Court using the CM/ECF System, which will send a notification of such filing

  to the following CM/ECF participants:

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                                               By:     /s/ Travis C. Gunn




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